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Ao 91 (Rev. 11/1 1) criminal complaint ` -' F" LEGD! iii rim
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UNITED STATES DISTRICT CoURT ~’-A»\l l 5 2th
for the
Southern District of Texas n ' €Mdc$§§i
United States of America )
V‘ ) ` 0 Ll”l ~ W\
l\/liguel Angel Soto, Jr. § Case NO' M/¢ q n
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of _my knowledge and belief.
On or about the date(s) of January 16, 2019 in the county of Hida|QO in the
Southern District of Texas , the defendant(s) violated:
Code Section O/j‘ense Description

Tit_le 49 U. S. C. Section 46504 An individual on an aircraft in the special aircraftjurisdiction of the United

- - States Whol by assaulting or intimidating a flight crew member or flight _
attendant of the aircraft, interferes With the performance of the duties of the
member or attendant or lessens the ability of the member or attendant to
perform those duties, shall be fined under title 18, imprisoned for not more
than 20 yearsl or both. However, if a dangerous Weapon is used in assaulting
or intimidating the member or attendantl the individual shall be imprisoned for
any term of years or for life. ~

§"

This criminal complaint is based on these facts:

SEE ATTACHl\/lENTA

E{ Continued on the attached sheet.

  

Complainant ’s signature

Daniei F. eaker, special Agent, Fei

Printed name and title

 

Sworn to before me and signed in my presence

 

. Judge ’s signature
City and state: MCAll€n, TGXSS ` US l\/lagistrate Judge

`/ / Printed name and title

 

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A.`lTACHl\/lENT A

lam a Special Agent of the Federal Bureau of investigation (FB|), and have knowledge of the following
facts:

1. On or about 01/16/2019, United Airlines Flight 1838 departed |\/|exico City, l\/lexico (lVlX) enroute
to Houston, Texas (TX). At approximately 6:40 p.m., the aforementioned flight was diverted to
Nchllen international Airport (|VlFE), after reports that a male passenger physically assaulted
another passenger as well as a member of the flight crew.

2. Passenger l\/liguel Angel Soto Jr. (SOTO), date of birth 03/15/1990, made physical contact with a
female passenger by kicking her multiple times with his foot. At such time, the flight crew was
made aware of the incident and intervened. `

3. ln operation of her duties as a member_of the crew, a flight attendant instructed SOTO to
remain in his seat. SOTO failed to comply with the commands of the flight attendant and
physically struck the flight attendant with his arm. ' ,

4. Subsequent to making contact with the flight attendant, SOTO was subdued by multiple
passengers who held him down. A federal agent, also aboard the aircraft, intervened and
assisted in taking SOTO into custody. The agent identified himself to SOTO as a federal agent
and continued to give commands to SOTO. SOTO refused to comply with the agent's commands
and continued to resist. The agent and aforementioned passengers were ultimately able to
restrain SOTO until the aircraft landed at |VlFE without further incident at approximately 6:50
p.m. CST.

